                                                                                             Case 2:17-cv-01398-DJH Document 37 Filed 01/11/18 Page 1 of 2



                                                                                    1 David A. Chami, AZ #027585
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                                                                                      Attorneys for Plaintiff Jose Collucci
                                                                                    6
                                                                                    7                          IN THE UNITED STATES DISTRICT COURT
                                                                                    8                               FOR THE DISTRICT OF ARIZONA
                                                                                    9 Jose Collucci,                                        NO. CV-17-1398-PHX-DMF
                                                                                   10                        Plaintiff,                     NOTICE OF SETTLEMENT
                 A limited liability partnership formed in the State of Delaware




                                                                                   11         vs.
                                                                                   12 M&T Bank; and Equifax Information
                                                                                   13 Services, LLC,
                                                                                   14                        Defendants.

                                                                                   15
                                                                                   16
                                                                                   17          NOTICE IS HEREBY GIVEN that Plaintiff Jose Collucci and Defendant M&T Bank,
REED SMITH LLP




                                                                                   18 have settled all claims between them in this matter. The parties are in the process of
                                                                                   19
                                                                                        completing the final settlement documents and expect to file a Stipulation to Dismiss with
                                                                                   20
                                                                                        Prejudice within forty (40) days of this filing. Plaintiff requests that this Honorable Court
                                                                                   21
                                                                                   22 vacate all pending deadlines, hearings and conferences, as there are no remaining Defendants
                                                                                   23 in this matter. Plaintiff further requests that the Court retain jurisdiction for any matters
                                                                                   24
                                                                                        related to completing and/or enforcing the settlement.
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                                                                                    1          Respectfully submitted this 11th day of January 2018.
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                                                                                                                                                 PRICE LAW GROUP, APC
                                                                                    3
                                                                                                                                                 /s/ David A. Chami
                                                                                    4                                                            David A. Chami, AZ #027585
                                                                                    5                                                            Attorneys for Plaintiff

                                                                                    6
                                                                                    7
                                                                                    8
                                                                                    9                                  CERTIFICATE OF SERVICE
                                                                                   10
                                                                                               I hereby certify that on January 11, 2018, I electronically filed the foregoing with the
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                        Clerk of the Court using the ECF system, which will send notice of such filing to all
                                                                                   12
                                                                                   13 attorneys of record in this matter. Since none of the attorneys of record are non-ECF
                                                                                   14 participants, hard copies of the foregoing have not been provided via personal delivery or by
                                                                                   15
                                                                                        postal mail.
                                                                                   16
                                                                                   17
                                                                                                                                  /s/ Florence Lirato
REED SMITH LLP




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